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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               October 19, 2020
                        UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

AMIGOS BEEF CATTLE COMPANY,            §
LLC, et al.,                           §
                                       §
      Intervenor Plaintiffs,           §
V.                                     § CIVIL ACTION NO. 2:18-CV-171
                                       §
UMB BANK, N.A., as Corporate Successor §
to MARQUETTE TRANSPORTATION            §
FINANCE, LLC DBA MARQUETTE             §
COMMERCIAL FINANCE, LLC, et al.,

         Defendants.

                                        ORDER

       Before the Court is Plaintiffs’ Opposed Motion for Entry of a Claims Procedure

Order (D.E. 117), Defendants’ joint response (D.E. 123), and Plaintiffs’ reply (D.E.

125). The Court GRANTS the motion, but ORDERS the parties to meet and confer

regarding the deadline and discovery issues raised by Defendants and any other issues

deemed necessary to ensure an efficient and just process. The parties shall submit an

agreed order to the Court by November 6, 2020. If they are unable to come to an

agreement, they shall request a hearing to be held no later than November 13, 2020.

       ORDERED this 19th day of October, 2020.

                                            ___________________________________
                                            NELVA GONZALES RAMOS
                                            UNITED STATES DISTRICT JUDGE




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